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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO FILE
14         v.                                    UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Action Filed: 10/29/2019
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
       MOTION TO FILE UNDER SEAL
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 1
            Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies
 2
     Limited and Q Cyber Technologies Limited submit this Administrative Motion to File Under Seal
 3
     the indicated portions of (1) the Declaration of Matthew Dawson filed concurrently with this
 4
     Motion (“Dawson Declaration”); (2) Defendants’ Opposition to Plaintiffs’ Motion for Sanctions
 5
     (the “Opposition”); (3) the Declaration of Aaron Craig in Support of the Opposition (“Craig
 6
     Declaration”) and Exhibits 1, 2, 6, 7, 9, 11-100, and 2045 thereto; (4) the Declaration of Terrence
 7
     McGraw in Support of the Opposition (“McGraw Declaration”); (5) the Declaration of Chaim
 8
     Gelfand in Support of the Opposition (“Gelfand Declaration”); and (6) the Declaration of Tamir
 9
     Gazneli in Support of the Opposition (“Gazneli Declaration”) (collectively, the “Sealed
10
     Documents”). The Motion is based upon the points and authorities set forth herein, as well as
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     those facts in the Dawson Declaration.
12
     I.     BACKGROUND
13
            The Court stayed discovery in this case shortly after Plaintiffs served their First Set of RFPs
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     on June 4, 2020. (Dawson. Decl. ¶ 2.) After the stay ended, the Court instructed the parties to
15
     meet and confer regarding the effect of Israeli law on Plaintiffs’ RFPs. (Id.) The parties met and
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     conferred but could not reach a resolution, forcing Defendants to file a motion for protective order
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     on March 30, 2023. (Id.) On November 15, 2023, the Court denied NSO’s motion for protective
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     order. (Dkt. No. 233.) The parties have since conducted substantial discovery, which has required
19
     NSO to produce certain highly confidential information and materials in accordance with Israeli
20
     law. (Dawson Decl. ¶ 2.) For additional information, the Court is respectfully referred to
21
     paragraphs 2-12 of the accompanying Dawson Declaration. Plaintiffs have now filed a Motion for
22
     Sanctions. (Dawson Decl. ¶ 2.)
23
     II.    LEGAL STANDARD
24
            Although courts recognize a general right to inspect and copy public records, “access to
25
     judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178
26
     (9th Cir. 2006). While motions and their attachments that are “more than tangentially related to
27
     the merits of a case” may be sealed only upon a showing of “compelling reasons,” filings that are
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     only tangentially related to the merits may be sealed upon a lesser showing of “good cause.” See
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 1   Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02, 1097 (9th Cir. 2016);

 2   MasterObjects, Inc. v. Amazon.com, Inc., No. 20-08103, 2022 WL 4074653, at *1 (N.D. Cal. Sept.

 3   5, 2022). A motion for terminating sanctions based on a purported failure to provide discovery

 4   “does not concern the merits” of a case. See Erhart v. BofI Holding, Inc., No. 15-CV-02287-

 5   BAS(NLS), 2016 WL 5110453, at *1 n.1 (S.D. Cal. Sept. 21, 2016) (emphasis added). “Good

 6   cause” requires only “a particularized showing” that sealing is appropriate, which “will suffice to

 7   seal documents produced in discovery.” Kamakana, 447 F.3d at 1180. For reasons shown below,

 8   Defendants easily satisfy the “good cause” standard with respect to the Sealed Documents.

 9           Regardless, even if the Court were to apply the more demanding “compelling reasons”

10   sealing standard, that standard is likewise satisfied. It is in the “sound discretion of the trial court”

11   to determine what constitutes a “compelling reason” for sealing a court document. In re Da Vinci

12   Surgical Robot Antitrust Litig., No. 21-CV-03825-AMO, 2024 WL 1687645, at *1 (N.D. Cal. Apr.

13   17, 2024) (citing Ctr. for Auto Safety, 809 F.3d at 1096).

14           As an initial matter, courts have found compelling reasons to seal traditionally non-public

15   government information. See Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., No.

16   217CV3010JCMGWF, 2019 WL 11638962, at *2 (D. Nev. June 20, 2019). The need to seal

17   certain information, and to keep that information out of the public record, has been repeatedly

18   briefed to the Court. (See, e.g., Dkt. Nos. 396 & 396-1.) Although Plaintiffs now tout certain

19   public reporting, they provide no evidence (nor can they) that the reporting has worked any change

20   in the restrictions and legal obligations previously described to the Court.

21           More generally, “[c]ompelling reasons justifying sealing court records generally exist

22   when such ‘court files might . . . become a vehicle for improper purposes’ such as ‘releas[ing]

23   trade secrets [] or as sources of business information that might harm a litigant’s competitive

24   standing.’” In re Da Vinci, 2024 WL 1687645, at *1; see also Grace v. Apple, Inc., No. 17-CV-

25   00551-LHK, 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and

26   security concerns can qualify as compelling reasons.”); Nursing Home Pension Fund v. Oracle

27 Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (citing Foltz v. State Farm Mut. Auto.

28 Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003) (“The Ninth Circuit has found that compelling
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 1   reasons exist to keep personal information confidential to protect an individual’s privacy interest

 2   and to prevent exposure to harm or identity theft.”)

 3          Specifically, Courts have found that compelling reasons exist to seal “proprietary

 4   information concerning [a party’s] technology and internal business operations” and “descriptions

 5   of [a party’s] proprietary technology,” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL

 6   706975, at *1 (N.D. Cal. Feb. 26, 2013), and information regarding “long-term financial

 7   projections, discussions of business strategy, and competitive analyses.” Krieger v. Atheros

 8   Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011); In re

 9   Google Location Hist. Litig., No. 5:18-cv-05062-EJD, 514 F. Supp. 3d 1147, 1162 (N.D. Cal. Jan.

10 25, 2021) (“Compelling reasons may exist to seal ‘trade secrets, marketing strategies, product

11 development plans, detailed product-specific financial information, customer information, internal

12 reports.’”); Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7,

13 2019) (“Courts have found that ‘confidential business information’ in the form of ‘license

14   agreements, financial terms, details of confidential licensing negotiations, and business strategies’

15   satisfies the ‘compelling reasons’ standard.”). Courts have also found “compelling reasons to seal

16   . . . source code directories, information about the technical operation of the products, financial

17   revenue data, and excerpts from expert depositions, expert report[s], and related correspondence.”

18   Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016).

19   III.   ARGUMENT

20          Good cause and compelling reasons both exist to grant this sealing request.

21          First, certain Sealed Documents contain highly sensitive, non-public information,

22 disclosure of which would prejudice Defendants and parties not before the Court. See, e.g.,

23 Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v.

24 Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017).

25 For additional argument, NSO respectfully refers to Paragraph 13 of the Dawson Declaration.

26          Second, many of the Sealed Documents include information about the parties’ confidential

27 technology and other trade secrets—including the operation of WhatsApp’s and NSO’s

28 technologies. Courts have routinely held that confidential business information satisfies the
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 1   “compelling reasons” standard, so it should easily satisfy the “good cause” standard applicable

 2   here. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017); Jones v. PGA

 3   Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023). This includes technological

 4   information. See Transperfect Global, 2013 WL 706975, at *1. The nature of NSO’s business

 5   requires that such information be kept confidential, and NSO would suffer competitive harm if this

 6   information were broadly disclosed to the public and to potential competitors. NSO’s government

 7   customers would also be prejudiced by disclosure of such information. Plaintiffs have sought to

 8   seal equivalent confidential information about their own business and technology.

 9          The Dawson Declaration Supporting This Motion. As the Dawson Declaration itself

10   makes clear in much greater detail, it contains highly sensitive, non-public information, the

11   disclosure of which would prejudice Defendants and other parties not before the Court.

12          Portions of the Opposition; The Craig Declaration and Exhibits. Defendants have

13   indicated certain portions of the Opposition, the Craig Declaration, and Exhibits 1, 2, 6, 7, 9, 11-

14   100, and 2045 that warrant sealing. Those materials contain information that is subject to legal

15   restrictions and confidentiality obligations. (See Dawson Decl. ¶¶ 2 and 4-13.) Regardless, those

16   materials discuss highly confidential information about the research, development, and functioning

17   of Defendants’ technologies that independently warrants sealing to prevent substantial harm to

18   Defendants’ business and to its government customers. See, e.g., Finjan, 2016 WL 7429304, at

19   *2; Transperfect, 2013 WL 706975, at *1; Synchronoss, 2019 WL 3718566, at *1.

20          Furthermore, pages 2-3, 10-13, and 25 of the Opposition, Paragraphs 12 and 15 of the Craig

21   Declaration, and Exhibits 6 and 100 thereto contain information that Plaintiffs have designated as

22   “Highly Confidential - Attorney’s Eyes Only” under the Stipulated Protective Order (Dkt. No.

23   132). Defendants reserve the right to oppose any statement by Plaintiffs in accordance with Civil

24   Local Rule 79-5(f)(4).

25          Portions of the McGraw Declaration.           The McGraw Declaration contains highly

26   confidential technical information regarding the functioning of Defendants’ technology, and expert

27   analysis of both WhatsApp’s and NSO’s technologies, which warrants sealing. See, e.g., Finjan,

28   2016 WL 7429304, at *2. Plaintiffs have filed under seal the reports of their technical expert,
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 1   David Youssef, for the same reason.

 2          Portions of the Gelfand and Gazneli Declarations. These declarations, from NSO’s Vice

 3   President for Compliance and Deputy General Counsel (Gelfand) and head of NSO’s research and

 4   development department (Gazneli), consist largely of information that is subject to legal

 5 restrictions and confidentiality obligations. See Dawson Decl. ¶¶ 2 and 4-13. The Gelfand

 6 Declaration contains extensive reference to highly sensitive, non-public information. The Gazneli

 7 Declaration also contains numerous descriptions of highly confidential technical information

 8 regarding the functioning of Defendants’ technology and related business practices, which warrant
 9 sealing even under the compelling reasons standard. See, e.g., Finjan, 2016 WL 7429304, at *2.

10                                               *****
11          As shown above and in the Dawson Declaration, compelling reasons exist to seal each of

12 the Sealed Documents. Defendants have analyzed each of the documents being filed, and for each,

13 Defendants are asking the Court to file under seal only the minimum necessary to meet their legal

14 obligations and to preserve their confidential information.

15 IV.      CONCLUSION

16          For the reasons set forth above and in the accompanying Dawson Declaration, Defendants

17 request that the Court grant this Motion and order the Sealed Documents to be kept under seal.

18
19   DATED: October 16, 2024                         KING & SPALDING LLP
20                                                   By: /s/Aaron S. Craig
                                                         JOSEPH N. AKROTIRIANAKIS
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22
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23                                                        TECHNOLOGIES LIMITED and Q
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